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EXHIBIT B
Case 1:09-cv-01317-GTS-RFT Document 1-3 Filed 11/25/09 Page 2 of 2

U.S. Department of Justice
Civil Rights Division
_ NOTICE OF RIGHT TO SUE
», :. WITHIN 90 DAYS

CERTIFIED MAIL

i i +2 950 Pennsylvania Avenue, N.W.
5055 4859

i Karen Ferguson , EMP, PHB, Room 4239
__J Washington, DC 20530
~~
wwe } September 29, 2009
Ms. Susan M. Salvo :
c/o John J. Hoke, Esquire

Law Offices of Towne, Bartkowski, et al.
Attorneys & Counselors at Law

P.O. Box 15072

Albany, NY 12212

Re: EEOC Charge Against Schenectady City School District
No. 525200900690

Dear Ms. Salvo:

Because you filed the above charge with the Equal Employment
Opportunity Commission, and the Commission has determined that it will not
be able to investigate and conciliate that charge within 180 days of the
date the Commission assumed jurisdiction over the charge and the
Department has determined that it will not file any lawsuit(s) based
thereon within that time, and because you through your attorney have
specifically requested this Notice, you are hereby notified that you have
the right to institute a civil action against the above-named respondent
under:

Title I of the Americans with Disabilities Act of 1990,

42 U.S.C. 12111, et seq., and,

Title V, Section 503 of the Act, 42 U.S.C. 12203.

If you choose to commence a civil action, such suit must be filed in
the appropriate Court within 90 days of your receipt of this Notice.

The investigative file pertaining to your case is located in the EEOC
Buffalo Local Office, Buffalo, NY.

This Notice should not be taken to mean that the Department of
Justice has made a judgment as to whether or not your case is meritorious.

Sincerely,

Loretta King
Acting Assigtant Attorney General
Civil/Rights Division

” Arn J! forge

ren L. Ferguson
Supervisory Civil Rights Analyst
Employment Litigation Section

ec: Buffalo Local Office, EEOC
Schenectady City School District
